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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE EX PARTE APPLICATION OF                      Case No. 24-mc-80021-PCP
                                         BLEACH, INC.,
                                   8                    Applicant.                          ORDER GRANTING EX PARTE
                                   9                                                        APPLICATION

                                  10                                                        Re: Dkt. No. 1

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                                  12
Northern District of California
 United States District Court




                                  13                                            BACKGROUND

                                  14          Pursuant to 28 U.S.C. § 1782, applicant Bleach, Inc. moves ex parte for an order

                                  15   authorizing limited discovery from X Corp. for use in a future civil proceeding in Japan. Bleach

                                  16   alleges that an anonymous X user reposted the statement “Bleach, Inc. is shit” on the social media

                                  17   platform X. Bleach’s Japanese attorney, Tomohiro Kanda, asserts that the repost constitutes a

                                  18   reputational tort under Articles 709 and 710 of the Civil Code of Japan. Dkt. No. 1-2.

                                  19          In order to file a civil lawsuit in Japan, however, the identity of the X user must be known.

                                  20   Bleach thus filed an ex parte application in this Court under § 1782 to seek personally identifiable

                                  21   information of the X user. Bleach hopes to serve X Corp. with a subpoena ordering it to provide

                                  22   documents showing the name, address, email address, and telephone number associated with the X

                                  23   account as well as the access logs (including timestamps, IP addresses, and port numbers) of the X

                                  24   account from September 17, 2023 until the date of document production. Dkt. No. 1, at 13.

                                  25                                         LEGAL STANDARDS
                                  26          Section 1782 permits district courts to authorize discovery where three requirements are
                                  27   satisfied: (1) the person from whom the discovery is sought “resides or is found” in the district of
                                  28   the district court where the application is made; (2) the discovery is “for use in a proceeding in a
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                                   1   foreign or international tribunal”; and (3) the application is made by a foreign or international

                                   2   tribunal or “any interested person.” Khrapunov v. Prosyankin, 931 F.3d 922, 925 (9th Cir. 2019);

                                   3   28 U.S.C. § 1782(a). The Supreme Court has identified four factors to be considered by a district

                                   4   court when exercising discretion to authorize discovery pursuant to § 1782: (1) whether the entity

                                   5   from whom discovery is sought is a participant in the foreign proceeding; (2) the nature of the

                                   6   foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the

                                   7   foreign government or the court or agency abroad to U.S. federal-court judicial assistance; (3)

                                   8   whether the request conceals an attempt to circumvent foreign proof-gathering restrictions or other

                                   9   policies of a foreign country or the United States; and (4) whether the request is unduly intrusive

                                  10   or burdensome. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264–65 (2004).

                                  11          An applicant need not “show that United States law would allow discovery in domestic

                                  12   litigation analogous to the foreign proceeding.” Id. at 263. “Section 1782 is a provision for
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                                  13   assistance to tribunals abroad. It does not direct United States courts to engage in comparative

                                  14   analysis to determine whether analogous proceedings exist here. Comparisons of that order can be

                                  15   fraught with danger.” Id. The fear of considering § 1782 applications on an ex parte basis is

                                  16   minimized because “parties will be given adequate notice of any discovery taken pursuant to the

                                  17   request and will then have the opportunity to move to quash the discovery or to participate in it.”

                                  18   IPCom GmbH & Co, KG v. Apple, Inc., 61 F. Supp. 3d 919, 922 (N.D. Cal. 2014). Granting ex

                                  19   parte applications under § 1782 only authorizes discovery, meaning that opposing parties can still

                                  20   raise objections and file a motion to quash after the application is granted. Id.

                                  21                                                ANALYSIS
                                  22          Bleach has met the three requirements set out in 28 U.S.C. § 1782(a). First, X Corp. is
                                  23   headquartered in San Francisco, California (within San Francisco County), and thus resides in this
                                  24   District. Second, per Bleach’s and Kanda’s assertions, a civil complaint will be filed in Japan and
                                  25   discovery is being sought for use in that foreign tribunal. See Intel, 542 U.S. at 259 (rejecting the
                                  26   argument that § 1782 only applies when foreign proceedings are pending or imminent, instead
                                  27   holding that § 1782 “requires only that a dispositive ruling … be within reasonable
                                  28   contemplation”). And third, the application is being made by the prospective litigant Bleach in that
                                                                                          2
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                                   1   foreign proceeding. See id. at 256 (expressing “[n]o doubt [that] litigants are included among, and

                                   2   may be the most common example of, the ‘interested person[s]’ who may invoke § 1782”).

                                   3          The discretionary Intel factors also support granting the ex parte application. First, X Corp.

                                   4   will not be a party in the prospective civil lawsuit (only the X user will be), so the material

                                   5   requested in the subpoena would not otherwise be easily obtainable from X Corp. in the future

                                   6   Japanese proceeding. See In re Ex Parte Application Varian Med. Sys. Int’l AG, 2016 WL

                                   7   1161568, at *3 (N.D. Cal. Mar. 24, 2016). Second, Japanese courts are generally receptive to U.S.

                                   8   federal court assistance, and there is no evidence to the contrary showing that the Japanese tribunal

                                   9   would reject such discovery. See, e.g., In re Med. Corp. H&S, 2019 WL 1230440, at *3 (N.D. Cal.

                                  10   Mar. 15, 2019); In re Med. Corp. Seishinkai, 2021 WL 3514072 (N.D. Cal. Aug. 10, 2021). Third,

                                  11   nothing in the record suggests that Bleach is attempting to circumvent foreign proof-gathering

                                  12   restrictions through this ex parte application. In re Google Inc., 2014 WL 7146994, at *3 (N.D.
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                                  13   Cal. Dec. 15, 2014); see also In re Eurasian Natural Resources Corp., 2018 WL 1557167, at *3

                                  14   (N.D. Cal. Mar. 30, 2018). Fourth, and finally, the discovery request here is narrowly tailored and

                                  15   does not suggest that Bleach is engaged in a broad fishing expedition. In re Ex Parte App. of

                                  16   Qualcomm Inc., 162 F. Supp. 3d 1029, 1043 (N.D. Cal. 2016). Rather, the proposed subpoena

                                  17   seeks to identify basic identifying information of the X user and access log data associated with

                                  18   the X account from September 2023 onwards. The narrow time period within which Bleach

                                  19   requests such access log data appears reasonable because the names and addresses on file with the

                                  20   X account may be fictitious and insufficient alone to identify the X user.

                                  21                                              CONCLUSION
                                  22          For the foregoing reasons, the Court grants Bleach’s ex parte application and authorizes
                                  23   limited discovery from X Corp. pursuant to 28 U.S.C. § 1782. The Court permits Bleach to serve
                                  24   the subpoena for document production upon X Corp. as presented in its application.
                                  25          IT IS SO ORDERED.
                                  26   Dated: April 30, 2024
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                                                                                                     P. Casey Pitts
                                  28                                                                 United States District Judge
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